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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                             NORTHERN DISTRICT OF CALIFORNIA

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                                  7     NAJARIAN HOLDINGS LLC, et al.,
                                                                                      Case No. 20-cv-00799-PJH
                                  8                   Plaintiffs,

                                  9             v.                                    JUDGMENT
                                  10    COREVEST AMERICAN FINANCE
                                        LENDER LLC,
                                  11
                                                      Defendant.
                                  12
Northern District of California
 United States District Court




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                                  14         The issues having been duly heard and the court having granted defendant’s

                                  15   motion for summary judgment and denied plaintiffs’ motion for partial summary judgment,

                                  16         it is Ordered and Adjudged

                                  17         that judgment is hereby entered in favor of defendant and against plaintiffs.

                                  18         IT IS SO ORDERED.
                                  19   Dated: December 1, 2021

                                  20                                              /s/ Phyllis J. Hamilton
                                                                                  PHYLLIS J. HAMILTON
                                  21                                              United States District Judge
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